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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1095V
                                         UNPUBLISHED


    DAVID CHOI,                                               Chief Special Master Corcoran

                         Petitioner,                          Filed: December 12, 2019
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Damages Decision Based on Proffer;
    HUMAN SERVICES,                                           Influenza (Flu) Vaccine; Shoulder
                                                              Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Matthew B. Vianello, Jacobsen Press & Fields, Clayton, MO, for petitioner.

Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION AWARDING DAMAGES1

       On July 26, 2018, David Choi filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination administered on
October 5, 2016. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

        On September 26, 2019, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for SIRVA. On December 12, 2019, Respondent filed a proffer
on award of compensation (“Proffer”) indicating Petitioner should be awarded
$62,065.00 (consisting of $60,000.00 for past and future pain and suffering, and
$2,065.00 for unreimbursable expenses). Proffer at 1. In the Proffer, Respondent

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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represented that Petitioner agrees with the proffered award. Id. Based on the record as
a whole, I find that Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $62,065.00 (consisting of 60,000.00 for past and future pain and
suffering, and $2,065.00 for past unreimbursable expenses) in the form of a check
payable to Petitioner. This amount represents compensation for all damages that
would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
_________________________________________
DAVID CHOI,                              )
                                         ) ECF-SPU
                        Petitioner,      )
                                         )
            v.                           ) No. 18-1095V
                                         ) Chief Special Master
SECRETARY OF HEALTH AND HUMAN            ) Brian H. Corcoran
SERVICES,                                )
                                         )
                        Respondent.      )
                                         )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On September 26, 2019, the Court issued a Ruling on Entitlement finding that David

Choi (“petitioner”) suffered a left shoulder injury related to vaccine administration (“SIRVA”), a

Table injury, following receipt of an influenza (“flu”) vaccination administered to him on

October 5, 2016. Respondent now Proffers the following regarding the amount of compensation

to be awarded. 1

       I.       Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

a total of $62,065.00, consisting of $60,000.00 for his past and future pain and suffering and

$2,065.00 for past unreimbursable expenses. This represents all elements of compensation to

which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 2 Petitioner agrees.


1
   The parties have no objection to the proffered award of damages. However, respondent
reserves his right to seek review of the Chief Special Master’s decision pursuant to 42 U.S.C.
§ 300aa-12(e)(1).
2
   Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future damages.

                                                 1
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         II.    Form of the Award

         The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $62,065.00 in the form of a check payable to petitioner. 3

Petitioner agrees.

                                               Respectfully submitted,

                                               JOSEPH H. HUNT
                                               Assistant Attorney General

                                               C. SALVATORE D’ALESSIO
                                               Acting Director
                                               Torts Branch, Civil Division

                                               CATHARINE E. REEVES
                                               Deputy Director
                                               Torts Branch, Civil Division

                                               ALEXIS B. BABCOCK
                                               Assistant Director
                                               Torts Branch, Civil Division

                                               s/Lisa A. Watts
                                               LISA A. WATTS
                                               Senior Trial Attorney
                                               Torts Branch, Civil Division
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                                               Benjamin Franklin Station
                                               Washington, D.C. 20044-0146
                                               Tel.: (202) 616-4099

DATED: December 12, 2019




3
    Petitioner is a competent adult. Proof of guardianship is not required in this case.
                                                 2
